                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   COLUMBIA DIVISION

    KAREN MCNEIL, et al.,

                       Plaintiffs,                                    Case No. 1:18-cv-00033
                                                                            Class Action
           v.                                                      Judge William L. Campbell, Jr.
    COMMUNITY PROBATION SERVICES,                                  Magistrate Judge Chip Frensley
    LLC; et al.,

                       Defendants.


                                           CONSENT DECREE

      I.     INTRODUCTION

      1. This Consent Decree is entered into between the Plaintiff class, represented by named
         Plaintiffs Indya Hilfort and Victor Gray (collectively, the “Plaintiffs”), and Defendants
         Giles County (“County”) and the Giles County Sheriff (“Sheriff”) (collectively, the
         “County Defendants”). The Plaintiffs and the County Defendants will be referred to
         collectively as “the Parties.” The other Defendants to this lawsuit—Community Probation
         Services, LLC and PSI Probation, LLC (“the Defendant companies”), Timothy Cook,
         Patricia McNair, Harriet Thompson, and Markeyta Bledsoe—did not participate in the
         negotiation of any portion of this Consent Decree. They object to and are not bound by any
         factual or legal findings and are not bound by any provision of the Consent Decree.

      2. The Parties, after engaging in extensive litigation, jointly enter into this Consent Decree to
         resolve Plaintiffs’ claims and remedy the violations challenged in this litigation under state
         law and the federal Constitution. 1 This Consent Decree is intended to protect the due
         process rights and equal protection rights of any person who may be sentenced to
         misdemeanor probation in Giles County.

      3. The Parties agree that the purpose of probation in Tennessee law “is rehabilitation of the
         defendant.” State v. Burdin, 924 S.W.3d 82, 85 (Tenn. 1996); State v. Jones, 328 S.W.3d
         520, 523 (Ten.. 2010).




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 McNeil v. Cmty. Prob. Servs, LLC, Case No. 19-5660, 803 Fed. App’x 846 (6th Cir. Feb. 28, 2020); McNeil v. Cmty.
Prob. Servs., LLC, Case No. 1:18-cv-00033, 2019 WL 633012 (M.D. Tenn. Feb. 14, 2019), aff'd, 945 F.3d 991 (6th
Cir. 2019); McNeil v. Cmty. Prob. Servs., LLC, Case No. 1:18-cv-00033, 2021 WL 366776 (M.D. Tenn. Feb. 3, 2021);
McNeil v. Cmty. Prob. Servs., LLC, Case No. 1:18-cv-00033, 2021 WL 365844 (M.D. Tenn. Feb. 3, 2021).

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 II.    FACTUAL FINDINGS

 4. This class action lawsuit alleged systemic constitutional and statutory violations in Giles
    County, Tennessee, which contracted with two for-profit companies—Community
    Probation Services, LLC and PSI Probation, LLC (“the Defendant companies”)—to run
    the County’s misdemeanor probation system.

 5. Pursuant to the contracts, for years, the companies generated 100% of their revenue and
    profit from fees paid by the people they supervised on probation. At the same time, the
    companies had tremendous power over Plaintiffs’ liberty, including determining reporting
    requirements, and deciding whether and when to administer drug tests, to report alleged
    violations of probation conditions including nonpayment, or to convert a person’s
    supervised probation to unsupervised. This arrangement gave the companies a financial
    stake in every decision they made affecting individual liberty, thereby creating a financial
    conflict of interest.

 6. Plaintiffs were assigned to supervised probation with one of the Defendant companies.
    Plaintiffs and others on probation sacrificed basic necessities—such as food, clothing,
    shelter, medical care, and hygiene products—to make payments to the companies and
    County in an effort to avoid arrest, jailing, and extended periods of supervised probation.

 7. As a matter of policy, the companies routinely collected fees from people who could not
    afford them and kept people on supervised probation due solely to their inability to make
    monetary payments.

 III.   DECLARATORY RELIEF

 8. The neutrality requirement of the Due Process Clause of the United States Constitution
    “applies to officials performing quasi-judicial functions and those performing enforcement
    functions.” McNeil, 2021 WL 366776, at *23; McNeil, 2021 WL 365844, at *15. Probation
    officers in Giles County perform both enforcement and quasi-judicial functions. McNeil,
    2021 WL 366776, at *23–24; McNeil, 2021 WL 365844, at *15–16. Therefore, probation
    officers must be neutral, i.e. free of financial conflicts of interest. Giles County’s “100%
    funding arrangement” with CPS and PSI “creates an impermissible conflict of interest, and
    [] this conflict is not too remote to be of concern[.]” McNeil, 2021 WL 366776, at *24
    (quotation marks omitted); id. at *24 n.13; McNeil, 2021 WL 365844, at *17 (quotation
    marks omitted).

 9. Bearden v. Georgia, 461 U.S. 660 (1983) protects indigent people from the “extensive
    restrictions on [] liberty” that are associated with supervised probation—including
    submitting to drug tests for which they are charged, refraining from travel and other
    restrictions on movement, and the threat of arrest and jailing for alleged violations of
    probation conditions—“which are not imposed on those who can afford to pay off their
    debt.” McNeil, 2021 WL 366776, at *28–29. Liberty interests such as the “right to privacy”
    and the “right to freedom of movement, among others,” are “significant,” and are

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       “substantially affected” by the conditions of supervised probation. Id. at *29. There is no
       “rational connection between the purpose of the policies and the means of achieving that
       purpose.” Id. And Defendants have an “alternative means” of collecting outstanding debts
       without infringing on a person’s liberty through the probation system, namely, through
       civil debt collection procedures. Id. at *30. Thus, it violates equal protection and due
       process to keep a person on supervised probation solely to make payments if the person is
       too poor to pay without sacrificing basic necessities.

 IV.      DEFINITIONS

 10. “Ability to pay” or “ability to make payments” or “able to pay” or “able to make payments”
     means a person can afford a payment without sacrificing the basic necessities of life,
     including but not limited to food, medical care, clothing, shelter, transportation, and
     hygiene products for the person and their dependents.

 11. “County” refers to Defendant Giles County.

 12. “County Defendants” or “Defendants” refers to Giles County and the Giles County Sheriff
     in his official capacity, collectively.

 13. “Drug-related offense” refers to a misdemeanor offense involving the personal use of a
     controlled substance that is regulated by the federal Controlled Substances Act.

 14. “Hold warrants” are warrants issued in connection with an alleged violation of
     misdemeanor probation and that instruct the Sheriff’s Office to detain the person subject
     to the warrant without an opportunity to be released prior to appearing before a judge for a
     hearing.

 15. “Inability to pay” or “inability to make payments” or “unable to pay” or “unable to make
     payments” refers to the inability to make a monetary payment without sacrificing the basic
     necessities of life, including but not limited to food, medical care, clothing, shelter,
     transportation, and hygiene products for the person and the person’s dependents.

 16. “Indigent” describes a person who in unable to make a monetary payment without
     sacrificing the basic necessities of life, including but not limited to food, medical care,
     clothing, shelter, transportation, and hygiene products for the person and the person’s
     dependents. Any person who meets any of the following criteria is “indigent”:

          a. Has a net household income that does not exceed 200% of the Poverty Guidelines
             as revised annually by the United States Department of Health and Human Services
             and published in the Federal Register (“FPG”);

          b. Is eligible for appointed counsel in their underlying misdemeanor case;

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        c. Is, or has dependents who are, eligible to receive aid from any federal or state public
           assistance program based on financial hardship; and/or

        d. Is homeless as that term is defined by federal public health and welfare law found
           at 42 U.S.C. § 11302.

 17. “Legal Financial Obligations” or “LFOs” refers to court costs, probation fees, drug test
     fees, supervision fees, any fee associated with a condition of probation, and all
     discretionary fines and fees. LFOs do not include restitution.

 18. “Misdemeanor case” refers to any case alleging a misdemeanor offense under Tennessee
     law that is filed, litigated, and/or resolved in General Sessions or Circuit Court.

 19. “Misdemeanor Probation Services” refers to supervision, drug tests, rehabilitation classes,
     treatment classes, any other program in which people who are sentenced to misdemeanor
     probation may be required to participate, and the administration of any other condition with
     which people who are sentenced to misdemeanor probation may be required to comply.

 20. “Net monthly income” refers to a person’s take-home pay after taxes and other required
     deductions.

 21. “Non-financial conditions of probation” refers to any condition of probation other than a
     requirement to make a monetary payment.

 22. “Payment” or “payments” refers to any money paid, or required to be paid, in connection
     with a person’s conviction in a misdemeanor case, including LFOs and restitution.

 23. “Plaintiffs” refers to named Plaintiffs Karen McNeil, Lesley Johnson, Indya Hilfort,
     Lucinda Brandon, Victor Gray, and the Plaintiff classes they represent for damages and
     injunctive relief.

 24. “Probation” refers to a custodial sentence of a specified length that is suspended for a
     specified period of time, contingent on a person’s compliance with specific conditions of
     release.

 25. A warrant is “Recalled” if the warrant is taken out of circulation such that the Giles County
     Sheriff’s Office will not rely on the warrant to arrest a person.

 26. “Restitution” refers to a monetary payment ordered under Tenn. Code Ann. § 40-35-304
     that is intended to compensate a victim for pecuniary losses, including in connection with
     a misdemeanor case.


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     27. “Sheriff” refers to the Giles County Sheriff in his official capacity.

     28. “Will” as a verb refers to a mandatory obligation and has the same meaning as the word
         “must.” 2

     V.      GENERAL PROVISIONS

     29. In the interest of avoiding a costly and protracted trial, County Defendants agree to entry
         of this Consent Decree by which they are enjoined from engaging in conduct that deprives
         persons of rights, privileges, or immunities secured or protected by the laws of the United
         States.

     30. This Consent Decree resolves all claims in Plaintiffs’ Third Amended Complaint filed in
         this case, Dkt. No. 440.

     31. This Consent Decree will constitute the entire integrated Consent Decree agreed to by the
         Parties. No prior drafts of this Consent Decree or prior or contemporaneous
         communications, oral or written, about this Consent Decree will be relevant or admissible
         for purposes of determining the meaning of any provisions of this Consent Decree in any
         litigation or any other proceeding.

     32. This Consent Decree is binding upon all Parties hereto, by and through their officials,
         officers, agents, assigns, employees, and successors. County Defendants must require their
         officials, officers, employees, agents, assigns, and successors to comply with this Consent
         Decree. If County Defendants contract with a government or non-government agency or
         entity whose function includes overseeing, regulating, accrediting, investigating, or
         otherwise reviewing or assuming the operations of County Defendants or their officials,
         officers, agents, assigns, employees, or successors, including any functions relating to the
         provision of misdemeanor probation services, County Defendants agree to ensure these
         functions are consistent with the terms of this Consent Decree and must incorporate the
         terms of this Consent Decree into the functions of the government agency or contracting
         entity as necessary to ensure consistency.

     33. Giles County will ensure that any third-party entity operating in the County complies fully
         with all provisions of this Consent Decree.

     34. This Consent Decree is enforceable only by the Parties. No other person or entity is
         intended to be a third-party beneficiary of the provisions of this Consent Decree for
         purposes of any civil, criminal, or administrative action, and accordingly, no other person
         or entity may assert any claim or right as a beneficiary or protected class under this Consent
         Decree.




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 Thus, terms such as “Party A will take Action X” mean that Party A is required to take Action X, and terms such as
“Party B will not take Action Z” mean that Party B is prohibited from taking Action Z.

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 35. The County is responsible for providing the support and resources necessary to fulfill
     County Defendants’ obligations under this Consent Decree, and as otherwise necessary to
     ensure that the requirements of this Consent Decree are fully implemented and sustained.
     To meet this requirement, the County may pursue and use grant funding or other non-
     County sources of financial support.

 36. All time periods specified in this final Consent Decree must be computed according to Rule
     6 of the Federal Rules of Civil Procedure.

 37. If any term, condition, or provision of this Consent Decree, or the application thereof to
     any person or circumstance, is to any extent held by this Court to be invalid, void, or
     unenforceable, that term, condition or provision must be severed and will be inoperative,
     and the remainder of this Consent Decree will remain operative and binding on the Parties.

 38. As set forth in Section 94, the parties to the Consent Decree have a duty to confer in good
     faith with each other and with the court-appointed Monitor before seeking intervention
     from the federal Court.

 39. The County is not required to collect LFOs and is not required to supervise people
     sentenced to misdemeanor probation. However, if the County chooses to collect LFOs or
     restitution, or if the County supervises people sentenced to misdemeanor probation, it must
     comply with all applicable provisions of this Consent Decree.

 VI.    INJUNCTIVE RELIEF

        A. Ensuring Probation Officers Are Neutral

 40. As of the date this Consent Decree is entered, no entity or individual supervises people
     sentenced to misdemeanor probation in Giles County.

 41. Giles County will not in the future contract with any third party for the provision of
     misdemeanor probation services if the third party relies on payments made by people on
     probation to fund the administration of the misdemeanor probation system. Similarly, Giles
     County will not rely on payments made by people on probation to administer its own
     misdemeanor probation system.

 42. Giles County will not contract with, or otherwise permit to provide any aspect of
     misdemeanor probation services in its jurisdiction, a for-profit entity that earns its revenue
     or profits from money paid by the people the entity supervises.

 43. If at any point in the future Giles County intends to contract with a third party to fully or
     partially administer misdemeanor probation services, then before finalizing such an
     arrangement, the County must provide to Plaintiffs’ counsel the specifics of the agreement
     or contract, explain the source of funding for the third party and the nature of the service
     to be provided, and will arrange an opportunity for Plaintiffs’ counsel to speak with a

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         representative of the third party and a county official knowledgeable about the services to
         be provided and the financing of those services. 3 Giles County must ensure that any third
         party fully complies with all provisions of this Consent Decree.

     44. Within 7 days of the entry of the Consent Decree, the Giles County Sheriff’s Office will
         identify all outstanding arrest or citation warrants for alleged violations of misdemeanor
         probation, will cease executing any such warrants, and will mark each warrant as “inactive”
         within the Sheriff’s Office’s computer system. Within 7 days of the entry of the Consent
         Decree, the County will notify all relevant authorities in other jurisdictions that arrest and
         citation warrants for alleged violations of misdemeanor probation will not be executed by
         the Giles County Sheriff’s Office pursuant to a federal Consent Decree, and the County
         will request that the appropriate authorities not execute arrest or citation warrants for
         alleged misdemeanor probation violations. Within 7 days of the entry of the Consent
         Decree, with respect to any misdemeanor violation-of-probation arrest or citation warrants
         that were issued in Giles County and sent to another jurisdiction to be executed, the
         Sheriff’s Office will inform each such jurisdiction that Giles County will not accept into
         custody people who are subject to such warrants. If Giles County is notified by another
         jurisdiction that the other jurisdiction has arrested a person pursuant to a misdemeanor
         violation-of-probation warrant issued in Giles County, the Sheriff’s Office will inform the
         other jurisdiction that Giles County will not accept that person into custody and will ask
         the other jurisdiction to release the person.

             a. If the subject of any warrant affected by Section 44 of this Consent Decree is still
                on probation when the Consent Decree is entered, within 30 days of entry of the
                Consent Decree, the County is permitted to make a fresh determination about
                whether to re-report the old violation to the extent consistent with Tennessee law.
                If the person is no longer on probation, the County must not report any alleged
                violation. After 30 days from the entry of the Consent Decree, the County is not
                permitted to re-issue any warrant that is affected by Section 44.

             b. With respect to any warrant that was issued solely or partially on the basis of alleged
                nonpayment of any payment, the County is not required to conduct an ability-to-
                pay determination if the County does not re-allege a violation for nonpayment.
                However, prior to alleging a violation of probation on the basis of nonpayment, the
                County must first conduct an ability-to-pay determination according to Sections
                47–54 using the form required by Section 46 and set forth in Appendix A. All
                provisions of the Consent Decree will apply to people who are unable to make a
                payment.



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   The purpose of this Section is to ensure that Plaintiffs fully understand the nature of the misdemeanor probation
system Giles County is contemplating and to allow Plaintiffs an opportunity to satisfy themselves that the new system
complies with the terms of the settlement and is constitutionally sound.

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        c. For any warrant that is affected by Section 44 of this Consent Decree, the County
           will provide notice to the person who is the subject of the warrant that his or her
           warrant will not be executed or enforced in Giles County and that the alleged
           violation underlying the warrant might be reassessed within 30 days of the warrant
           being recalled, after which the warrant will not reissue. Notice must be provided
           using the following means, unless the Parties agree otherwise: a mailer to the
           person’s last known address (if the warrant was issued on or after April 23, 2015);
           a poster at the courthouse; and notice on the websites for the Giles County General
           Sessions Court, Giles County Circuit Court, and Giles County Sheriff’s Office
           websites, stating generally that outstanding misdemeanor violation-of-probation
           warrants are being recalled and might be reissued within 30 days, after which the
           warrant will not reissue; and any other means the Parties agree are reasonably
           necessary to ensure individuals are aware that their warrants were recalled.

        B. Determining Ability to Pay

 45. The provisions of Part VI.B. apply upon entry of the Consent Decree.

 46. If the County decides to collect payments from people convicted of misdemeanor offenses
     in Giles County, the form set forth in Appendix A will be used to provide notice and to
     determine ability to pay in accordance with this Consent Decree. Defendants are permitted
     to modify the form, but for the five years following entry of the Consent Decree, Class
     Counsel must approve any such modifications.

 47. As stated in Section 10, a person has the “ability to pay” if the person can make a monetary
     payment without sacrificing the basic necessities of life, including but not limited to food,
     medical care, clothing, shelter, transportation, and hygiene products for themselves and
     their dependents. As stated in Section 15, a person is “unable to pay” if the person cannot
     make a monetary payment without sacrificing the basic necessities of life, including but
     not limited to food, medical care, clothing, shelter, transportation, and hygiene products
     for the person and the person’s dependents. As stated in Section 16, a person who is
     “indigent” is unable to make a payment without sacrificing the basic necessities of life.

 48. The responsibility for deciding whether a person convicted of a misdemeanor who is
     required to make payments has the ability to make a payment is for a judge to make.
     However, the County and Sheriff have an independent obligation not to enforce
     unconstitutional judicial orders, including orders to make payments, if the person lacks the
     ability to pay, and orders to keep a person who lacks the ability to pay on supervised
     probation solely to make payments. Accordingly, Defendants must determine ability to pay
     before collecting payments and before enforcing conditions of probation.

 49. Before making an ability-to-pay determination, the County will provide the person
     convicted of a misdemeanor who is required to make payments with actual notice that it
     will seek to determine the person’s ability to pay and the relevance of the inquiry, including
     its relevance to determining whether the County is legally permitted to enforce conditions

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    of supervised probation, whether it is permitted to notify the court of an alleged probation
    violation for nonpayment, and whether any payments must be waived. The County must
    use the form described in Section 46 and set forth in Appendix A to provide the notice
    required by this Section.

 50. The County will then conduct an inquiry to determine ability to make payments using the
     form described in Section 46 and set forth in Appendix A. Any person who is indigent
     pursuant to Section 16 and Section 51(a) lacks the ability to make payments.

 51. Defendants must apply the following objective standards to determine ability to pay:

        a. A person who is “indigent” lacks the ability to make any payment. A person is
           “indigent” if the person meets any of the following criteria:

                 i. Has a net household income that is below 200% of the Poverty Guidelines
                    as revised annually by the United States Department of Health and Human
                    Services and published in the Federal Register (“FPG”);
                ii. Is eligible for appointed counsel in their underlying misdemeanor case;
               iii. Is, or has dependents who are, eligible to receive aid from any federal or
                    state public assistance program based on financial hardship; and/or
               iv. Is homeless as that term is defined by federal public health and welfare law
                    found at 42 U.S.C. § 11302.

        b. A person who does not meet any of the categories in Section 51(a)(i)–(iv) is
           presumed able to pay LFOs and restitution. However, before collecting payments
           from such persons, the County must assess whether making those payments will
           cause the person to forgo basic necessities of life, including but not limited to food,
           medical care, clothing, shelter, transportation, and hygiene products for the person
           and their dependents. If the person attests that they cannot make the payment
           without sacrificing such basic necessities, Defendants will not collect payment
           unless the County presents contrary evidence that the person has the ability to pay.

        c. The following items must not be considered in determining ability to pay:
               i. Any income protected by state or federal law from private or governmental
                  creditors, including any income from any federal or state public assistance
                  program based on financial hardship;
              ii. Any payment received as part of a settlement, including in the above-
                  captioned lawsuit;
             iii. Income or assets of family and friends;
             iv. Income from a tax return;
              v. The person’s expenses; and
             vi. The person’s ability to pay money bail.

 52. Before accepting a payment, the County will make a written record of its conclusion as to
     whether the person has the ability, or lacks the ability, to make payments.



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             a. The record will be included in the person’s file in the Clerk’s Office.

             b. The County will provide a copy of the record to the probationer at the time of the
                assessment.

             c. Within 72 hours of a request by the person who owes LFOs or restitution, Class
                Counsel, or the person’s defense counsel in any misdemeanor case filed in Giles
                County, the County will produce a copy of the form. This Section is not intended
                to conflict with any Tennessee laws governing the disclosure of public information.

      53. The Parties agree that certain forms of income and certain assets are protected from
          collection by creditors under federal and Tennessee law. 4 The County is prohibited from
          collecting payments from those sources of income or assets. Additionally, sources of
          income that are protected from collection under federal and Tennessee law cannot be used
          in determining ability to pay.

      54. The County must provide notice to people convicted of misdemeanor offenses who are
          required to make payments of the types of income protected by federal and state law. The
          County must further provide notice that such income cannot be used to make payments.
          The County must use the form described in Section 46 and set forth in Appendix A to
          provide notice and to ensure that it does not collect payments from those protected sources
          of income and protected assets. If the County discovers that it has collected payments from
          protected sources of income or protected assets, the County must remit the payments within
          14 days of the discovery.

             C. Reassessing Ability to Pay

      55. The provisions of Part VI.C. apply upon entry of the Consent Decree.

      56. An initial determination that a person has the ability to pay, or lacks the ability to pay, may
          be reassessed during the pendency of the probationary period. Ability to pay must not be
          reassessed after the probation term has ended.

      57. Any reassessment of ability to pay subsequent to the initial determination must be made in
          accordance with Sections 47–54 above, using the form described in Section 46 and set forth
          in Appendix A.

      58. At the beginning of any probation term, using the form described in Section 46 and set
          forth in Appendix A, County Defendants must give notice to the person on probation that:


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  See, e.g., 42 U. S. C. § 407(a) (Social Security benefits protected from collection by creditors); Tenn. Dep’t of Human
Servs. ex rel. Young v. Young, 802 S.W.2d 594, 599 (Tenn. 1990) (applying 42 U.S.C. § 407 to hold that Tennessee
courts cannot require people who owe court debts or supervision fees to spend income from SSI or SSDI to make
those payments); see generally Tenn. Code Ann. § 26-2-101–26-2-115.


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         a. The County is permitted to reassess ability to pay at the conclusion of every six-
            month period on probation by using the form described in Section 46 and set forth
            in Appendix A; and

         b. A person can request reassessment of ability to pay at any time, and that, if the
            person requests reassessment of ability to pay, Defendants must provide a
            reassessment in accordance with Sections 47–54 above, using the form described
            in Section 46 and set forth in Appendix A, before collecting any further payments.

  59. Reassessment process:

         a. Every six months after a person is convicted of a misdemeanor offense and required
            to make payments, Defendants must cease collecting payments from a person who
            has been making payments. After providing actual notice in accordance with
            Section 49, Defendants may reassess ability to pay in accordance with Sections 47–
            54 above by using the form described in Section 46 and set forth in Appendix A,
            and if the person has the ability to make payments, Defendants may resume
            collection in accordance with the other provisions of this Consent Decree.

         b. A person who is convicted of a misdemeanor offense and required to make
            payments may request reassessment of ability to pay at any time. If a person on
            probation requests reassessment of ability to pay, Defendants must provide a
            reassessment in accordance with Sections 47–54 above, using the form described
            in Section 46 and set forth in Appendix A, before collecting any further payments.

         c. Even if a person does not request a reassessment, if the County has a basis to believe
            that a person who is making payments lacks the ability to pay, the County must
            reassess ability to pay in accordance with Sections 47–54 above, using the form
            described in Section 46 and set forth in Appendix A, before collecting any further
            payments.

         D. Eliminating the Practice of Keeping People on Supervised Probation Solely
            Due to Inability to Pay and Eliminating Other Unfair Consequences of
            Inability to Pay

  60. The provisions of Part VI.D. apply upon entry of the Consent Decree.

  61. This provision applies to any person on supervised probation who is required to make
      payments; who lacks the ability to make payments or whose sole income is from sources
      protected under Tennessee and federal law; and who has completed all non-financial
      conditions of probation. With respect to such persons:

         a. County Defendants must not:

                 i. Collect payments;

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                 ii. Enforce any conditions of probation, including but not limited to requiring
                     the person to make payments or to report to the probation department;
                iii. Report an alleged violation of any condition of probation, including but not
                     limited to failure to make payments;
                iv. Seek additional conditions of probation or an extension of time on probation
                     due to not making payments; or
                 v. Supervise the person.

         b. County Defendants must ask the court to terminate the person’s term on supervised
            probation.

         c. County Defendants must not report to the Department of Safety and Homeland
            Security that the person did not make payments, thereby avoiding license
            suspension.

         d. County Defendants must waive any LFOs that are unpaid at the end of any
            probation term and must provide notice to the person that the LFOs were waived.
            Defendants are permitted to waive LFOs at any point prior to the end of a probation
            term.

  62. This provision applies to any person on supervised probation who is required to make
      payments, and who lacks the ability to make those payments or whose sole income is from
      sources protected under Tennessee and federal law, regardless of whether the person is
      subject to other, non-financial conditions of probation. With respect to such persons, the
      County is permitted to enforce non-financial conditions of probation. However, County
      Defendants must not:

         a. Collect payments;

         b. Enforce any order to make payments on LFOs or restitution;

         c. Report that a person did not make payments; or

         d. Seek additional conditions of probation or an extension of time on probation due to
            a person not making payments.

  63. Within 30 days of entry of the Consent Decree, County Defendants must waive any LFOs
      that, at the time the Consent Decree is entered, are unpaid by people who were previously
      convicted of a misdemeanor offense in Giles County. The County must provide notice to
      every individual whose unpaid LFOs are waived by the County using the means set forth
      in Section 44(c), specifically, a mailer to the person’s last known address (if the person
      accrued court debt on or after April 23, 2015); a poster at the courthouse, and a notice on
      the court’s and the Sheriff’s website, stating generally that outstanding LFOs have been

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         waived; and any other means the Parties agree are reasonably necessary to ensure
         individuals are aware that their LFOs were waived.

      64. Upon request, County Defendants must produce documentation that is sufficient for the
          Tennessee Department of Safety and Homeland Security or any other state agency to
          determine that the person does not have any outstanding payments that are capable of
          preventing the person from being issued a valid license.

             E. Ending Arrests for Nonpayment and Ending Pre-Hearing Detention Without
                a Finding that Detention is Necessary

      65. The provisions of Part VI.E. apply upon entry of the Consent Decree.

      66. To the extent the Sheriff knows or can determine on the face of a warrant that the warrant
          was issued for an alleged violation of misdemeanor probation, the Sheriff is enjoined from
          detaining any person on a secured financial condition of release (i.e., secured bail amount)
          or a detention order (including a warrant that states “hold”) following an arrest for an
          alleged violation of misdemeanor probation, regardless of the jurisdiction in which the
          warrant was issued, if the warrant is not accompanied by a record showing that the
          condition (i.e., secured bail amount) was imposed after: (1) notice to the arrestee and an
          opportunity to be heard by an appropriate judge; and (2) findings by that judge concerning
          the person’s ability to pay, alternatives to secured bail, and whether pre-revocation
          detention is necessary to meet a compelling governmental interest.

      67. The Sheriff will treat an order to pay secured money bail or an order to “hold” a person
          following an arrest for an alleged violation of misdemeanor probation as an order to release
          the person on his or her own recognizance unless the record described in Section 66
          accompanies the warrant. 5

      68. To the extent the Sheriff knows or can determine on the face of a warrant that the warrant
          was issued solely for not making a payment, the Sheriff must not arrest or detain the person
          subject to the warrant, regardless of the jurisdiction in which the arrest warrant was issued,
          unless the warrant reflects that the nonpayment is willful and that the warrant was issued
          after a hearing where a determination was made that the arrestee had the ability to pay.

      69. Defendants will not request or recommend that a secured bond amount or hold be issued
          in relation to an alleged violation of misdemeanor probation.

             F. Eliminating Onerous Probation Conditions



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 McNeil v. Cmty. Prob. Servs., LLC, Case No. 1:18-cv-00033, 2019 WL 633012 (M.D. Tenn. Feb. 2, 2019), aff'd,
945 F.3d 991 (6th Cir. 2019).

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  70. As stated in Section 39, the County is not required to supervise people on misdemeanor
      probation. However, if the County chooses to do so, the provisions of Part VI.F. apply upon
      entry of the Consent Decree.

  71. Probation Fees: The County will not collect from people who are unable to pay any fee
      for misdemeanor probation services or any fee for complying with a condition of probation,
      including but not limited to attending a class, undergoing treatment, or submitted to drug
      tests.

  72. Drug Tests:

         a. Unless an individual has been convicted of a drug-related offense, the County will
            not administer drug tests to people placed on misdemeanor probation and will not
            enforce requirements that a person placed on misdemeanor probation be drug tested
            either by requiring the person to take or pay for a drug test, or by reporting to the
            court that a person did not take or pay for a drug test, or by reporting that a drug
            test was positive for controlled substances.

         b. If an individual has been convicted of a drug-related offense, the County is
            permitted to administer drug tests to the extent required by a judge. The County is
            not permitted to require payment for the drug test from a person who cannot afford
            to pay. The first time a person tests positive for a controlled substance, the County
            will not allege a violation of probation and will provide the person with information
            regarding voluntary treatment or counseling programs. The County is permitted to
            report an alleged violation only if a person tests positive for a controlled substance
            a second time while on supervised probation and the test is admissible at a
            revocation hearing under state law (Tenn. Code Ann. § 40-35-11(c)(1)).

  73. Reporting Requirements:

         a. If the County supervises people on misdemeanor probation, the County must
            develop and implement internal policies relating to supervision and reporting. Class
            Counsel must approve the policies prior to implementation. To allow sufficient time
            for Class Counsel to review the policies prior to implementation, the County must
            provide the proposed policies to Class Counsel no later than 45 days prior to the
            intended implementation date. The policies must ensure that the probation
            department’s reporting requirements are flexible and account for the personal
            obligations and restrictions of any person on probation, including the accessibility
            of the probation office and cost of transportation to the probation office,
            unpredictable work schedules, child care, and the need to provide care to
            dependents. Reporting requirements must be the least-restrictive necessary to
            promote the rehabilitative goals of probation, must minimize disruptions to a
            person’s life, and must seek to minimize costs to the County that do not promote

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             rehabilitation. As such, to the maximum extent possible, the County will permit
             reporting by phone, text, mail, e-mail, or other means that are convenient and
             inexpensive to the person on probation and the County.

         b. In any case where reporting is required weekly, the County may inform the court
            that a person on probation has potentially violated probation by not reporting only
            if the person on probation has missed three or more consecutive meetings and has
            not responded to the probation officer’s efforts to contact the probationer using all
            available contact information within that timeframe. In any case where reporting is
            required biweekly or monthly, the County may report to the court that a person on
            probation has potentially violated probation by not reporting only if the person on
            probation has missed two or more consecutive meetings and has not responded to
            the probation officer’s efforts to contact the probationer using all available contact
            information within that timeframe.

         c. If the probation officer, in accordance with Section 74, notifies the court that a
            person allegedly violated probation by not reporting, the probation officer must also
            provide detailed information in writing to the court about the probationer’s personal
            obligations and efforts to report and the probation officer’s efforts to contact the
            probationer.

  74. Reporting Alleged Violations to the Court: The County’s historical practice has been to
      report alleged violations using a sworn affidavit attached to a warrant. The County will
      provide probation officers with alternative, informal means of reporting alleged violations
      to the Court, and will train probation officers on the benefits of using these alternative
      means for alerting the court to an alleged violation of probation conditions. Alternative
      means include but are not limited to emails, letters, or in-person meetings. The County is
      permitted to report alleged violations via a sworn affidavit.

  VII.   TRAINING AND TRANSPARENCY

  75. If the County chooses to supervise people on misdemeanor probation, prior to commencing
      supervision, the County will provide a minimum of 5 hours of training, approved by Class
      Counsel, to anyone employed as a probation officer, regarding topics such as best probation
      practices and rehabilitation. Within the first 90 days of employment of any probation
      officer hired in Giles County, the County must provide a total of 20 hours of training, using
      a trainer approved by Plaintiffs’ Counsel, regarding topics such as best probation practices
      and rehabilitation. For each of the five (5) years from the date of entry of the Consent
      Decree, the County will also provide 8 hours of annual training, approved by Class
      Counsel, for probation officers and other officials involved in administering the probation
      system, regarding topics such as best probation practices and rehabilitation.

  76. For each of the five (5) years from the date of entry of the Consent Decree, the County will
      provide annual training, approved by Class Counsel, consistent with these basic principles

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     to all County and Sheriff’s Office employees involved in the probation system, and will
     offer training to judges, attorneys, and other officials who are involved in the misdemeanor
     probation system.

  77. The County will track information necessary to determine compliance with the provisions
      of this agreement, including data relating to the number of people on probation, payments
      made, the length of time on probation, conditions imposed, alleged violations, results of
      revocation proceedings, and the availability and use of rehabilitation-related services.

  VIII. THE CONSENT DECREE MONITOR

  78. County Defendants and Plaintiffs will agree on a cost-effective monitoring regime that will
      allow Plaintiffs to monitor compliance with the terms of the settlement agreement.

  79. The Parties will jointly select an independent monitor (“Monitor”) who will assess and
      report on whether the requirements of this Consent Decree have been implemented.

  80. In selecting the Monitor, the Parties have established a mutually agreed-upon process,
      which they are permitted to modify so long as a Monitor is proposed to the Court, or a
      disagreement about the Monitor is reported to the Court, no later than 75 days from entry
      of the Consent Decree:

         a. As soon as practicable, but no later than 14 days from the date of approval of the
            Consent Decree, the Parties will request proposals from qualified candidates
            interested in serving as the Monitor that include an identification of qualifications,
            proposed team members, proposed Monitoring plan, and a proposed budget. The
            period for receiving applications will be 30 days absent agreement to extend the
            period.

         b. Prospective Monitors must submit a detailed monitoring plan and proposed budget.

         c. Within 30 days from the close of the period for submitting applications, the Parties
            will review applications, interview candidates, and recommend a candidate to the
            Court for appointment.

  81. If the Parties are unable to agree on a Monitor, each Party will submit the name of the
      proposed individuals, groups of individuals, or entities, along with resumes and cost
      proposals, to the Court. The Court will consider the Parties’ submissions and will choose
      a candidate or candidate team proposed by one of the Parties.

  82. At any time, on motion by any Party or the Court’s own determination, the Court may
      remove the Monitor for good cause.




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  83. In the event the Monitor is removed, resigns, or is no longer able to fulfill its responsibilities
      under this Consent Decree, the Court will appoint a replacement recommended by the
      Parties. The Parties’ selection will follow the same process as described in Sections 80–81.

  84. Except for the period in which a new or replacement Monitor is selected, there will be a
      Monitor in place for three (3) years from the appointment of the Monitor. However, the
      period may be extended for good cause. Good cause is shown if the County has not been
      substantially in compliance with this Consent Decree in the 12 months immediately prior
      to the end of the final scheduled year.

  85. The Monitor will have only the duties, responsibilities, and authority conferred by this
      Consent Decree. The Monitor will not, and is not intended to, replace or assume the role
      or duties of Defendants in implementing the Consent Decree.

  86. The Monitor will conduct quarterly reviews for the first two years, and will report on
      compliance to Class Counsel and the Court. In the third year, the Monitor will conduct
      reviews every six months. Class Counsel may request additional information from the
      Monitor at any time.

  87. The County Defendants must provide the Monitor, on a quarterly basis or upon request,
      with all data, documents, and information reasonably necessary for the Monitor to perform
      its functions including but not limited to the following.

          a. The County Defendants must provide the Monitor with access to all documents
             reflecting alleged violations of misdemeanor probation, access to probation files
             and notes, access to payment histories, which must be preserved by the probation
             department (if one exists) and the clerk’s office, and documentation of requests to
             the court to terminate the person’s term on probation;
          b. The County Defendants must provide the Monitor with access to individuals with
             knowledge relevant to compliance with the Consent Decree and over whom the
             County Defendants have control, including but not limited to employees of the
             Giles County Sheriff’s Office, the Circuit Court Clerk’s Office, and any probation
             department that operates within the County, so that the Monitor can conduct
             interviews as needed;
          c. The County Defendants must provide the Monitor with data and information
             relating to the amount of money collected from people convicted of misdemeanor
             offenses and how the County allocated that money;
          d. The County Defendants must provide the Monitor with copies of all financial
             affidavits or other documents related to ability to pay that are completed by people
             convicted of misdemeanor offenses and required to pay restitution or LFOs;
          e. The County Defendants must provide the Monitor with documents related to
             compliance with the Training provisions in Section VII of the Consent Decree;



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         f. The County Defendants must provide the Monitor with documents sufficient to
            show whether County Defendants are complying with Section VI(F) of the Consent
            Decree;
         g. The County Defendants must track and report to the Monitor all arrest and citation
            warrants executed for alleged violations of misdemeanor probation and must
            provide that information to the Monitor at least quarterly, or upon request by Class
            Counsel or the Monitor;
         h. As needed to confirm compliance with the Consent Decree, and within seven (7)
            days of any request by the Monitor unless the Monitor and the County Defendants
            agree to a different timeframe, the County Defendants must provide sworn
            certifications documenting the extent of compliance with the Consent Decree.
         i. The County Defendants must provide any other documents or information to the
            Monitor that are reasonably necessary to determine compliance with the provisions
            of the Consent Decree.

  88. All documents made available to the Monitor under this Section must be equally available
      to Class Counsel.

  IX.    DAMAGES AND FEES

  89. The County and named Plaintiffs Karen McNeil, Lesley Johnson, Indya Hilfort, Lucinda
      Brandon, Victor Gray, and the Estate of Tanya Mitchell agree that the County will pay $2
      million, which is inclusive of all Named Plaintiffs’ attorneys’ fees and costs. The County
      will also pay the costs of claims administration, monitoring, and any other implementation
      costs.

  X.     CLASS CERTIFICATION

  90. The following class is certified for purposes of injunctive relief: All people (1) who are or
      will be convicted of a misdemeanor offense in Giles County and (2) who are required to
      make payments and/or who are sentenced to probation (referred to as “Class A”).

  91. The following classes are certified for purposes of damages relief:

         a. All people who were on probation in connection with a misdemeanor offense in
            Giles County on or after April 23, 2017 through March 31, 2021 (referred to as
            “Class B”); and
         b. All people who paid CPS Fees and/or PSI Fees while on probation in connection
            with a misdemeanor offense in Giles County on or after April 23, 2015 through
            March 31, 2021 (referred to as “Class C”).




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   XI.    CONTINUING JURISDICTION & ENFORCEMENT

   92. The Parties will comply with the terms of this Consent Decree. The Court retains
       jurisdiction to enforce this Consent Decree.

   93. This Court will retain jurisdiction over this matter and allow the Parties to this Consent
       Decree to apply to the Court for any further order that may be necessary to construe, carry
       out, enforce compliance, and/or resolve any dispute regarding the terms or conditions of
       this Consent Decree.

   94. Nothing in this Consent Decree may be construed to limit the equitable powers of the Court
       to modify these terms upon a showing of good cause by any party.

   XII.   PROCEDURES IN EVENT OF NONCOMPLIANCE

   95. In the event any of the Defendant is deemed by the Monitor to be not in compliance with
       any term of the Consent Decree, the Parties must attempt to identify the source of any
       problems inhibiting compliance and create a plan and timeline for the Defendant(s) to
       achieve compliance. If the parties are unable to resolve the issue, they may submit the
       dispute to the Court for resolution.

   96. In the event Class Counsel has a reasonable belief that any of the Defendants is not in
       compliance with the terms of the Consent Decree, Class Counsel must notify the Monitor
       and Defendants. The Parties must confer in a good-faith attempt to resolve the issue. Only
       if the Parties are unable to achieve a resolution may they submit the dispute to the Court.

   XIII. EFFECTIVE DATE

   97. This Consent Decree will become effective upon entry by the Court.

Ordered this 13th         January
             ___ day of _______________, 2022.


                                            __________________________________________
                                            Hon. William L. Campbell, Jr., District Judge




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                 APPENDIX A




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Defendant Name: _______________________ Case Number(s):___________________________________________

        Notice of Rights to Anyone Convicted of a Misdemeanor Offense in Giles County 1

                 If you were convicted of a misdemeanor offense and are required to make payments
                    and/or are placed on probation in Giles County, you have the following rights:

1. Rights

    •    You have the right to have your ability to pay determined using this form.

    •    You have the right not to make payments from any income from the following protected sources:
            o A “Public Benefit,” which includes: a social security benefit, unemployment compensation, a Families First
                program benefit or a local public assistance benefit; a veterans’ benefit; a disability, illness, or
                unemployment benefit, or a pension that vests as a result of disability.

    •    You have the right to not be kept on supervised probation if you’ve completed all conditions of probation other
         than paying. If you are on supervised probation and the only condition left is making payments:
             o No one can enforce any conditions of probation against you;
             o No one can report alleged violations of probation;
             o No one can supervise you or make you report;
             o No one can ask the court to impose more conditions or extend your time on probation to make payments;
             o Your probation officer must ask the court to terminate your term on supervised probation. The court may
                 or may not agree.

    •    You have the right to request a reassessment of ability to pay at any time. Ability to pay will be determined using
         this form. If your financial situation changes for the worse—for example, if you lose your job—you should ask for
         your ability to pay to be reassessed.

2. Procedure

    •    Your ability to pay will be determined based only on your personal income, and the following items must not be
         considered in determining ability to pay:
            o Any Public Benefits you receive, as defined above;
            o Any payment received as part of a settlement;
            o Money you received from family and friends (unless the money is from a job you did or a gift);
            o Income from a tax return;
            o Your expenses; and
            o Your ability to pay money bail.

    •    You will be considered unable to make any payments if:
            o Your only sources of income are Public Benefits, as defined above; OR
            o Your net household income, meaning the amount you make after taxes, is below 200% of the Federal
                Poverty Guidelines; OR
            o You received, or were eligible for, appointed counsel in this case; OR
            o You receive or are eligible, or have dependents who receive or are eligible, for aid from any federal or state
                public assistance program based on financial hardship (for example SSI, SSDI, TANF, Medicaid, public
                housing SNAP, or any other federal or state assistance); OR
            o You are homeless, lack stable housing, are living somewhere other than a home (like a bus station, car, or
                camping ground), live in a shelter, or are about to lose your housing and have nowhere to go.




1
 This Notice is issued as required by the consent decree entered in McNeil v. Cmty. Prob. Servs., LLC, Case No. 1:18-cv-00033 (M.D.
Tenn. Apr. 2018)
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Defendant Name: _______________________ Case Number(s):___________________________________________

    •    If you cannot afford to make any payments on your legal financial obligations 2 or restitution, then:
             o You do not have to make any payments;
             o No one will tell the court that you did not pay;
             o No one will seek a warrant for nonpayment;
             o No one will report nonpayment to the Department of Homeland Security. That means that your license will
                 not be suspended for nonpayment in this case;
             o Any money you have not paid at the end of your probation term must be waived.

    •    If your net income exceeds 200% of the Federal Poverty Guidelines, then you can be required to make payments
         unless making those payments will cause you forgo basic necessities including but not limited to food, medical
         care, clothing, shelter, transportation, and hygiene products for you or your dependents.

    •    If it is determined that you lack the ability to pay all of your LFOs and restitution, your ability to pay can be
         reassessed every six months only while you are on probation. Once your probation term is over, any unpaid LFOs
         must be waived. You might still be required to pay restitution.


I was provided with the Notice above before completing the Ability to Pay form, and I was given sufficient time to review
the information and ask questions. I understand the information in this Notice.

_________________________                               __________________________
Name                                                    Date




2
  The term “legal financial obligation” or “LFOs” refers to court costs, probation fees, drug test fees, supervision fees, any fee associated
with a condition of probation, and all discretionary fines and fees. LFOs do not include restitution. The term “restitution” refers to a
monetary payment ordered under Tenn. Code Crim. Pro. § 40-35-304 that is intended to compensate a victim for pecuniary losses,
including in connection with a misdemeanor case.
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Defendant Name: _______________________ Case Number(s):___________________________________________

                                         Determination of Ability to Pay
       What is your approximate yearly net income (income after taxes)? _____________________________
       How many people live in your household?_________________________________________________

                                Number of           A: Yearly net        B: Yearly net
                                people in your      income is:           income is:
                                household
                                1                   $25,760 or lower     $25,761 or higher
                                2                   $34,840 or lower     $34,841 or higher
                                3                   $43,920 or lower     $43,921 or higher
                                4                   $53,000 or lower     $53,001 or higher
                                5                   $62,080 or lower     $62,081 or higher

       Based on those numbers, is your income in column A or B above?__________________________

   □   Do you meet any of the following criteria? Check all that apply:

       □   My net household income is in column A; OR
       □   You received, or were eligible for, a publicly-appointed lawyer in your criminal case; OR
       □   You receive or are eligible, or have dependents who receive or are eligible, for aid from any federal or state public
           assistance program based on financial hardship (for example SSI, SSDI, TANF, Medicaid, public housing SNAP, or
           any other federal or state assistance); OR
       □   You are homeless, lack stable housing, are living somewhere other than a home (like a bus station, car, or camping
           ground), live in a shelter, or are about to lose your housing and have nowhere to go; OR
       □   Your only sources of income are from a disability, illness, or unemployment benefit, or a pension that vests as a
           result of disability; a Families First program benefit or a local public assistance benefit; and/or a veterans’ benefit.

   □   IF YOUR INCOME IS IN COLUMN B: My net household income is ____________, and the number of people in my
       household is ______.

       □   If I make the payments required of me, I will not be able to afford food, medical care, clothing, shelter, transportation
           (e.g. gas money or a car payment), or hygiene products for myself or my dependents.

   I declare under penalty of perjury that the above information is true and correct to the best of my ability.

   _________________________                                __________________________
   Name                                                     Date



   •   I certify that I, _____________, provided _________________[Defendant] with the Notice required by the Consent
       Decree in McNeil v. Community Probation Services. _____________
   •   [Defendant] stated that they understood the information.
   •   Based on the above, sworn information, I find that______________[Defendant]:

       □   Cannot afford to make payments; OR
       □   Can afford to make payments as required by the court.


_________________________                          __________________________
Name                                               Date


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